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                                  CERTIFICATE OF SERVICE

       I, Elizabeth A. Underwood, Esquire hereby certify that I have served a copy of the

foregoing Stipulation via electronic filing to all parties of record.




                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN




                                       BY:
                                             ELIZABETH A. UNDERWOOD, ESQUIRE


Date: 6/9/2022
